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  1                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                             EASTERN DIVISION

  3
      MIDAMINES SPRL LTD., an                  )
  4   Illinois corporation,                    )
                                               )
  5                         Plaintiff,         )
                                               )
  6                                            )   Case No. 18 C 1489
      -vs-                                     )
  7                                            )   Chicago, Illinois
                                               )   September 20, 2018
  8   KBC BANK N.V., et al.,                   )   10:02 a.m.
                                               )
  9                         Defendants.        )

 10
                           TRANSCRIPT OF PROCEEDINGS
 11                 BEFORE THE HONORABLE JOHN J. THARP, JR.

 12   APPEARANCES:

 13   For the Plaintiff:          LAW OFFICES OF HASSAN A. ABBAS
                                  BY: MR. HASSAN ALI ABBAS
 14                               211 West Wacker Drive
                                  Suite 300
 15                               Chicago, IL 60606

 16   For the Defendant:          ORRICK, HERRINGTON & SUTCLIFFE LLP
                                  BY: MR. ALVIN YOUNG LEE
 17                               51 West 52nd Street
                                  New York, NY 10019
 18

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 20

 21

 22   Court Reporter:             KELLY M. FITZGERALD, CSR, RMR, CRR
                                  Official Court Reporter
 23                               United States District Court
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 24                               Chicago, Illinois 60604
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  1      (Proceedings heard in open court:)

  2               THE CLERK:     18 CV 1489, Midamines v. KBC.

  3               Hi, this is Alberta.        You've been conferenced into

  4   Judge Tharp's courtroom for your case Midamines v. KBC, 18 CV

  5   1489.    Please hold for further instructions.

  6               THE COURT:     All right.     Good morning.      This is

  7   Judge Tharp.

  8               Who do we have on the line?

  9               MR. ABBAS:     Good morning.      Good morning, Judge Tharp.

 10   This is Hasan Abbas representing the plaintiff Midamines Sprl

 11   Ltd.

 12               MR. LEE:    And this is Alvin Lee from Orrick,

 13   Herrington & Sutcliffe representing the defendant KBC.

 14               THE COURT:     All right.     We're here because the

 15   plaintiffs filed two motions:          a motion to amend the

 16   complaint, docket 41; and a motion for clarification of the

 17   Court's earlier ruling.

 18               With respect to the motion to amend, I'm going to

 19   deny that motion without prejudice.            We're not going to be

 20   addressing motions to amend the pleadings at this point until

 21   I make threshold -- I address the motions that are already

 22   pending, some of which raise threshold issues about whether

 23   the case should be proceeding in this forum at all.                Until I

 24   have resolved those questions, we're not going to burden the

 25   docket with motions about amending pleadings that, you know,
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  1   it may or may not ultimately be necessary to address.

  2               I'll further note that there is no requirement that a

  3   complaint set forth all of the legal theories that might

  4   support recovery in a case in any event.

  5               So as I understand it, the motion to amend seeks

  6   simply to add a claim of breach of contract.              Again, it's not

  7   necessary to specify the particular legal theories on which

  8   recovery might be warranted in a complaint.              That doesn't mean

  9   I will not -- if the case goes forward in this forum that I

 10   would not be willing to entertain a further motion to amend

 11   the complaint, but it's certainly not necessary to do that at

 12   this point.      So that motion is denied, again, without

 13   prejudice.

 14               The motion for clarification of the Court's earlier

 15   ruling striking or denying the plaintiff's motions to strike

 16   is granted, and I will provide this further clarification.

 17               What I said and what I held was that the arguments on

 18   which the motions to strike were based could be incorporated

 19   into and should be incorporated into the response briefs due

 20   from the plaintiff on July 19th.           That is the -- I think the

 21   clear import of the rulings I made; but to the extent there

 22   was any confusion about that, I can't state it any more

 23   clearly than that.

 24               I think that's all that was up before us.             Does any

 25   party have anything else that needs to be addressed?
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  1               MR. LEE:    Nothing from defendants, Your Honor.

  2               THE COURT:     Mr. Abbas?

  3               MR. ABBAS:     Well, Your Honor, you know, with respect

  4   to the motion to amend, you know, another point is with

  5   respect to the time, the issue of the statute of limitations

  6   because, you know, part of the arguments relative to the

  7   defendants' motion was the statute of limitations.                And here

  8   the breach of contract, because it carries a ten-year statute

  9   of limitations, I believed it was necessary at this point to

 10   amend.    But I understand that --

 11               THE COURT:     Again, there's nothing that has precluded

 12   or that precludes you from including that argument in response

 13   to a motion to dismiss, but the complaint itself does not need

 14   to be amended at this juncture to add a new legal theory.

 15   That doesn't preclude you from arguing in response to a motion

 16   to dismiss based on a statute of limitations argument that the

 17   statute of limitations for breach of contract theory has not

 18   run.    The fact that that's not expressly made part of the

 19   complaint is of no moment.

 20               MR. ABBAS:     Okay.    I mean -- because I had not

 21   addressed that issue in my response.            In my initial response

 22   to their motion, I had not addressed that issue.

 23               THE COURT:     Well, amending the complaint would not

 24   address it either.        If the -- if you fail to make an argument,

 25   that's -- I will address the briefs as they are presented to
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  1   me, but amending the complaint at this juncture isn't going to

  2   solve that problem.

  3               MR. ABBAS:     Okay.

  4               Now, with respect to our pending motions to strike,

  5   as I understood it, these motions would be considered as part

  6   of our response is what I understood.

  7               Now, in their -- defendants' reply, they indicated

  8   and they also cited some case law that that was an improper

  9   procedure to include such motions to strike within a motion

 10   and response to a motion to dismiss.            And that's why I wanted

 11   to clarify that our motions to strike will be considered

 12   because they're using judgments that are -- that cannot be

 13   recognized.      They're from Congo, and they're as a pretext for

 14   the rest of our funds which they haven't returned for the past

 15   six years; and also they're using affidavits with regard to a

 16   provisional payment when there was a final payment that was

 17   made to Illinois.       You know, the KBC went into Midamines'

 18   account in Illinois to extract the money without

 19   authorization, and one of the affidavits indicates that, oh,

 20   it was a provisional payment.          That's why we went back in

 21   there, back into the account in Illinois.              That was a final

 22   payment, and they came in like two weeks --

 23               THE COURT:     Mr. Abbas, I don't know what we're

 24   discussing here right now.          There are two motions up before

 25   the Court --
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  1               MR. ABBAS:     Well --

  2               THE COURT:     -- and I've ruled on the clarification

  3   motion.     The clear import of the order that I entered was that

  4   the arguments that were asserted in your motions to strike

  5   should be -- to the extent that you wish to make them should

  6   be incorporated into the responses to be filed on July 19th.

  7   That was either done or it wasn't done.             What the defendant

  8   says about the propriety of your argument is something I will

  9   address; but to the extent you complied with the Court's order

 10   and incorporated those arguments, the defense claim that that

 11   was improper is not going to carry the day.

 12               MR. ABBAS:     And I had -- I believe I had incorporated

 13   some responses that were stricken by the Court.               So that was

 14   another issue that I was not clear on, and I was wondering

 15   about that also.

 16               THE COURT:     Well, Mr. Abbas, what I can tell you is

 17   I'm going to take up the motions that have been filed and the

 18   responses and the briefing on those questions as they are

 19   presented.     We're not going to be filing more motions.                This

 20   is yet another reason that we're not filing more motions at

 21   this juncture.       We've got more motions than I can keep track

 22   of at this point already filed in this matter; and until I get

 23   to them, which is taking longer than I would like because this

 24   is not an -- this is not a situation uncommon to this case

 25   where litigants continue to file motions before the Court ever
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  1   has to address the motions that have already been filed.

  2               So I'm not considering the motion for leave to amend

  3   the complaint at this juncture, and I have provided you the

  4   clarification, the only clarification I can with respect to

  5   the Court's prior ruling about your motions to strike.

  6               And to repeat that again, I instructed you that the

  7   arguments set forth in your motions to strike should be -- to

  8   the extent that they are relevant should be asserted in your

  9   response to the motions to dismiss.            And whether you did that

 10   or not or whether your arguments have merit or not, I have not

 11   yet reviewed; and when I take those briefs up, I will make

 12   those determinations.

 13               Is there anything else?

 14               MR. ABBAS:     Thank you.     Thank you, Your Honor.         Thank

 15   you.    I appreciate it.

 16               THE COURT:     All right.

 17               Mr. Lee?

 18               MR. LEE:    No, nothing from us, Your Honor.

 19               THE COURT:     All right.     Thank you.     I'll take the

 20   motions up as quickly as I can.

 21               We're adjourned.

 22               MR. LEE:    Thank you, Your Honor.

 23               THE COURT:     All right.

 24      (Which were all the proceedings heard.)

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  1                                    CERTIFICATE

  2      I certify that the foregoing is a correct transcript from

  3   the record of proceedings in the above-entitled matter.

  4   /s/Kelly M. Fitzgerald                         September 25, 2018

  5
      Kelly M. Fitzgerald                            Date
  6   Official Court Reporter

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